 1                                                                  The Honorable Barbara J. Rothstein
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                              UNITED STATES DISTRICT COURT
 8                      WESTERN DISTRICT OF WASHINGTON AT SEATTLE

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     JACOB ATKINSON, individually and on                  No. 2:23-cv-01742-BJR
10   behalf of all others similarly situated,
                                                          PLAINTIFF’S MOTION FOR PARTIAL
11                                  Plaintiff,            RECONSIDERATION
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           v.
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     AARON’S, LLC DBA AARON’S SALES &
14   LEASE OWNERSHIP, LLC, a foreign for
     profit limited liability corporation; and DOES
15   1-20,
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                                    Defendants.
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18          Pursuant to Fed. R. Civ. P. 59(e) and Local Rule 7(h), Plaintiff Jacob Atkinson

19   (“Plaintiff”) respectfully asks this Court to partially reconsider its Order Granting Defendant

20   Aaron’s, LLC DBA Aaron’s Sales & Lease Ownership, LLC’s (“Defendant”) Motion to Dismiss.

21   ECF No. 24. Partial reconsideration is appropriate because the Court committed manifest error

22   by dismissing this case for lack of Article III standing instead of remanding the case to state court.

23                                   I.      STANDARD OF REVIEW

24          A motion for reconsideration is appropriate where a prior ruling contained manifest error

25   of law. See W.D. Wash. Local Rules LCR 7(h)(1); 389 Orange Street Partners v. Arnold, 179

26   F.3d 656, 665 (9th Cir. 1999). A “manifest error” is one that disregards controlling law. Teamsters

     Loc. 617 Pension & Welfare Funds v. Apollo Grp., Inc., 282 F.R.D. 216, 231-32 (D. Ariz. 2021).
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 1   A party may raise new authority in a motion for reconsideration to allow the court to correct errors
 2   of law. See Cooter & Gell v. Hartmax Corp., 496 U.S. 384, 405 (1990) (“A district court would

 3   necessarily abuse its discretion if it based its ruling on an erroneous view of the law,”); Whittaker

 4   Corp. v. Execuair Corp., 953 F.2d 510, 515 (9th Cir. 1992) (describing a motion for

 5   reconsideration as “a clear opportunity [for the district court] to review the validity of its order.”).

 6   Here, Plaintiff respectfully submits that the Court committed manifest error by failing to comply

 7   with the removal statute’s mandate to remand a case when subject matter jurisdiction is lacking.

 8   See 28 U.S.C. § 1447(c). Because remand would not be futile, as Article III does not apply in

 9   state court, the Court’s only option was to remand this case, and it must do so now.

10                               II.     PROCEDURAL BACKGROUND

11           Plaintiff filed this proposed class action in King County Superior Court, alleging

12   violations of the Washington Equal Pay and Opportunities Act, RCW 49.58.110. Defendant filed

13   a notice of removal in the case on November 13, 2023, declaring that subject matter jurisdiction

14   exists. ECF No. 1 at 10. Despite having just asserted a basis for federal subject matter jurisdiction,

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     Defendant then moved to dismiss for lack of subject matter jurisdiction under Fed. R. Civ. P.

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     12(b)(1), contending Plaintiff lacked Article III standing. ECF No. 24. The Court granted

     Defendant’s motion to dismiss without prejudice and allowed Plaintiff to amend his complaint by
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     May 15, 2024. ECF No. 37.
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                                              III.    ANALYSIS
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             Plaintiff respectfully submits that controlling law requires the Court to reconsider the
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     portion of its order dismissing this case, and instead remand this case to state court. Plaintiff also
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     respectfully asks the Court to stay the deadline to amend his complaint set forth in its prior Order
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     while the Court considers this motion.
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         A. The Court must remand a case if subject matter jurisdiction is lacking.
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             Federal district courts are courts of limited jurisdiction and “there is a general presumption
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     against federal court review.” Lanza v. Aschcroft, 389 F.3d 917, 930 (9th Cir. 2004). The party
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     asserting jurisdiction bears the burden of rebutting that presumption. Kokkonen v. Guardian Life

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 1   Ins. Co. of America, 511 U.S. 375, 377 (1994). For that reason, a defendant who removes a case
 2   from state to federal court bears the burden of establishing federal subject matter jurisdiction.

 3   Moore-Thomas v. Alaska Airlines, Inc., 553 F.3d 1241, 1244 (9th Cir. 2009); Corral v. Select

 4   Portfolio Servicing, Inc., 878 F.3d 770, 773-74 (9th Cir. 2017) (describing this burden as

 5   “particularly stringent”) (internal citations omitted). The removing defendant’s burden includes

 6   “establishing the existence of a case or controversy under Article III, including ‘the core

 7   component of standing.’” Env’t Rsch. Ctr. v. Heartland Prods., 29 F. Supp. 3d 1281, 1283 (C.D.

 8   Cal. 2014) (quoting Lujan v. Defenders of Wildlife, 504 U.S. 555, 561 (1992)). Thus, the removing

 9   defendant cannot “have it both ways by asserting, then immediately disavowing, federal

10   jurisdiction[.]” Ayala v. Sixt Rent a Car, LLC, No. 19-1514 FMO (MRWx), 2019 WL 2914063,

11   at *2 (C.D. Cal. July 8, 2019) (quoting Mocek v. Allsaints USA Ltd., 220 F. Supp.3d 910, 914

12   (N.D. Ill. 2016)). But that is precisely what Defendant did here. Compare ECF No. 1, with ECF

13   No. 24.

14             Although Federal Rule 12(h) ordinarily requires district courts to dismiss cases for lack

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     of subject matter jurisdiction, where a case has been removed, “[i]f at any time before final

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     judgment it appears that the district court lacks subject matter jurisdiction, the case shall be

     remanded.” 28 U.S.C. § 1447(c) (emphasis added). Under § 1447(c), remand is “mandatory, not
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     discretionary.” Bruns v. Nat’l Credit Union Admin., 122 F.3d 1251, 1257 (9th Cir. 1997). When
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     a plaintiff lacks Article III standing, “the district court generally must remand the case to state
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     court, rather than dismiss it.” Polo v. Innoventions Int’l, LLC, 833 F.3d 1193, 1196 (9th Cir. 2016)
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     (citing Bruns, 122 F.3d at 1257). “Remand is the correct remedy because a failure of federal
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     subject-matter jurisdiction means only that federal courts have no power to adjudicate the matter.
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     State courts are not bound by the constraints of Article III.” Id. (citing ASARCO Inc. v. Kadish,
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     490 U.S. 605, 617 (1989)). Because “the ultimate responsibility to ensure jurisdiction lies with
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     the district court,” no motion to remand is necessary. Id.
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               Here, once the Court concluded that Plaintiff lacked Article III standing, its only option
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     was to remand the case to state court. See Polo, 833 F.3d at 1196, 1199 (reversing district court’s

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 1   order dismissing case for lack of subject matter jurisdiction because plaintiff lacked Article III
 2   standing with instructions to remand to state court); Terrell v. Costco Wholesale Corp., C16-

 3   1415JLR, 2017 WL 2169805, at *2 (W.D. Wash. May 16, 2017) (remanding case to state court

 4   because defendant argued the plaintiff lacked standing); Walker v. Kroger Co., Case No. 22-cv-

 5   00261-JST, 2022 WL 20208929, at *1-3 (N.D. Cal. June 21, 2022) (same); Ayala, 2019 WL

 6   2914063, at *2 (same); Morgan v. Bank of America, N.A., No. 2:20-CV-000157-SAB, 2020 WL

 7   3979660, at *2-3 (E.D. Wash. July 14, 2020) (same); see also Moliga v. Qdoba Rest. Corp., No.

 8   2:23-CV-01084-LK, 2023 WL 5013439, at *5 (W.D. Wash. Aug. 7, 2023) (in action under RCW

 9   49.58.110, ordering parties to show cause why case should not be remanded for lack of federal

10   subject matter jurisdiction). 1 The Court’s decision to dismiss, rather than remand the case as

11   required by controlling law, was manifest error. Plaintiff respectfully moves for partial

12   reconsideration on this basis and asks the Court to remand this case. See 389 Orange Street

13   Partners, 179 F.3d at 665.

14         B. Remand would not be futile.

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               Courts have articulated one narrow exception to the clear rule that a removed case “shall

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     be remanded” rather than dismissed if subject matter jurisdiction is lacking. 28 U.S.C. § 1447(c).

     This “futility” exception applies only where the district court has “absolute certainty” that a state
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     court would “simply dismiss[] the action” for the same reason the district court applied and
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     remand would be futile. Bell v. City of Kellogg, 922 F.2d 1418, 1425 (9th Cir. 1991). Remand
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     would not be futile here. First, the futility exception, which contradicts the removal statute, “has
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     been questioned, and may no longer be good law.” Polo, 833 F.3d at 1197. Second, even if the
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     futility exception were still good law, it does not apply here because the Washington Constitution
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     does not limit state superior courts’ jurisdiction as Article III of the U.S. Constitution does. See
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      Appellate courts throughout the country are in accord. See, e.g., Plazzi v. FedEx Ground Package Sys., 52 F.4th 1,
     7 (1st Cir. 2022); Vossbrinck v. Accredited Home Lenders, Inc., 773 F.3d 423, 427 (2d Cir. 2014); Samuel-Bassett v.
25   KIA Motors Am., Inc., 357 F.3d 392, 403 (3d Cir. 2004); Roach v. W. Virginia Reg’l Jail & Corr. Facility Auth., 74
     F.3d 46, 49 (4th Cir. 1996); Lutostanski v. Brown, 88 F.4th 582, 587 (5th Cir. 2023); Coyne v. Am. Tobacco Co., 183
26   F.3d 488, 497 (6th Cir. 1999); Collier v. SP Plus Corp., 889 F.3d 894, 897 (7th Cir. 2018); Wallace v. ConAgra
     Foods, Inc., 747 F.3d 1025, 1033 (8th Cir. 2014); Fent v. Oklahoma Water Res. Bd., 235 F.3d 553, 559 (10th Cir.
     2000); Ladies Mem’l Ass’n v. City of Pensacola, 34 F.4th 988, 993-94 (11th Cir. 2022).
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 1   Matter of Estate of Reugh, 10 Wn. App. 2d 20, 55, 447 P.3d 544 (2019) (distinguishing Spokeo,
 2   Inc., 578 U.S. at 337-38 and stating, “Washington courts do not face such constitutional

 3   limitations.”).

 4           The U.S. Supreme Court has recognized the irreconcilable conflict between the judge-

 5   made futility exception and the plain, mandatory language of the removal statute, which “give[s

 6   the court] no discretion to dismiss rather than remand an action.” Int’l Primate Prot. League v.

 7   Admins. of Tulane Educ. Fund, 500 U.S. 72, 88-89 (1991) (internal quotation marks and citation

 8   omitted). The Ninth Circuit has repeatedly recognized the futility exception’s doctrinal peril

 9   following International Primate, but has not yet had occasion to expressly overrule Bell. See, e.g.,

10   Bruns, 122 F.3d at 1257-58 (concluding district court erred in dismissing rather than remanding

11   case for want of subject matter jurisdiction and citing with approval Fourth and Seventh Circuit

12   cases rejecting the futility exception); Polo, 833 F.3d at 1197-98 (casting doubt on the futility

13   exception but declining to overrule Bell sua sponte where no party had argued the issue); Sauk-

14   Suiattle Indian Tribe v. City of Seattle, 56 F.4th 1179, 1190 (9th Cir. 2022) (same). Although

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     courts within the Ninth Circuit have sporadically applied the futility exception, some have

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     substantially narrowed its application and cast doubt on its validity. See, e.g., Polo, 833 F.3d at

     1198 (“[O]nly when the eventual outcome of a case after remand is so clear as to be foreordained
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     have we held that a district court may dismiss it,”); Sauk-Suiattle Indian Tribe, 56 F.4th at 1190
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     n.16 (recognizing that Ninth Circuit “case law on the futility exception is conflicting,” and
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     collecting cases). In light of the Ninth Circuit’s strong signals that Bell’s futility exception is
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     likely no longer good law, this Court need not consider it here. Bruns, 122 F.3d at 1257-58.
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             Even if the futility exception remains good law, it does not apply here. It is not so clear as
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     to be foreordained that a Washington court would also dismiss Plaintiff’s claims for failure to
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     articulate a concrete injury-in-fact as required by Article III. See id. at 1198. To the contrary,
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     Washington state court jurisdiction is not limited to Article III cases and controversies. Whereas
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     Article III restricts federal district courts’ jurisdiction, Washington’s Constitution vests superior
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     courts with expansive “original jurisdiction in all cases and of all proceedings in which

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 1   jurisdiction shall not have been by law vested exclusively in some other court.” Wash. Const.
 2   article IV, § 6. Because Washington superior courts’ jurisdiction is broad, “in Washington, a

 3   plaintiff’s lack of standing is not a matter of subject matter jurisdiction.” Matter of Estate of

 4   Reugh, 10 Wn. App. 2d at 56.

 5          Recognizing this crucial difference between state and federal law, this Court expressly

 6   rejected a futility argument in similar circumstances. See Terrell, 2017 WL 2169805, at *2. There,

 7   the removing defendant argued that the plaintiff lacked Article III standing for failure to articulate

 8   a concrete injury-in-fact and remand was futile. Id. But the Court concluded that, “[t]he

 9   Washington appellate courts have not yet determined whether Spokeo’s clarifications to the

10   injury-in-fact prong extend to Washington law on standing, and it is therefore unclear whether

11   remand would be futile.” Id. (internal citation omitted). The Terrell Court remanded the case. Id.

12   Since that decision, the only Washington appellate court to discuss Spokeo’s injury-in-fact

13   standard in a case where the plaintiff asserted state law claims is the Estate of Reugh Court, which

14   rejected it. See 10 Wn. App. 2d at 55.

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            “Questions of standing under Washington law begin with the statutes themselves.” West

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     v. Seattle Port Comm’n, 194 Wn. App. 821, 826, 380 P.3d 82 (2016) (looking to statutory

     language to determine whether a party had standing). Here, Plaintiff alleges that Defendant
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     violated a right guaranteed by a Washington State statute. If Defendant challenges Plaintiff’s
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     standing upon remand, the state court will look to the language of that statute, rather than to
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     interpretations of Article III. See Matter of Estate of Reugh, 10 Wn. App. 2d at 55. RCW
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     49.58.110 is a relatively new statute, and Washington courts have not yet determined its
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     requirements for standing. Therefore, it is not “absolutely clear” that a Washington court would
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     impose on Plaintiff the same concrete injury-in-fact standard required in federal court, and remand
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     is thus not futile. See Terrell, 2017 WL 2169805, at *2. Accordingly, this Court must remand this
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     case for lack of subject matter jurisdiction. See 28 U.S.C. § 1447(c).
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 1                                         IV.     CONCLUSION
 2          For the foregoing reasons, it was manifest error for the Court to dismiss this case instead

 3   of remanding it to state court once it determined that it lacked subject matter jurisdiction. On this

 4   basis, Plaintiff respectfully moves the Court to withdraw the portion of its Order dismissing the

 5   case and instead issue a remand order as required by law. Plaintiff also respectfully asks the Court

 6   to stay the deadline to amend his complaint set forth in its prior Order while the Court considers

 7   this motion for reconsideration.

 8                            V.        CERTIFICATION OF CONFERRAL

 9          Counsel for the parties met and conferred regarding the filing of this motion on May 1,

10   2024 at 2:30 pm via video conference.

11

12   RESPECTFULLY SUBMITTED this 7th day of May 2024.

13

14                                                  EMERY | REDDY, PLLC

15
                                                    By: /s/ Timothy W. Emery
16                                                  By: /s/ Patrick B. Reddy
                                                    By: /s/ Paul Cipriani
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24
                                                    I certify that this memorandum does not exceed ten
25                                                  (10) pages, in compliance with this Court’s
                                                    Standing Order.
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 1                                  CERTIFICATE OF SERVICE
 2           I hereby certify that on May 7, 2024, I caused to be electronically filed the foregoing
     document with the Clerk of the Court using the CM/ECF system which will send notification of
 3
     such filling to the following CM/ECF participants:
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